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                       IN THE UNITED STATES DISTRICT COURT
                                                                                 312013
                        FOR THE WESTERN DISTRICT OF TEXAS CLERK,           U.S. DISTRICT
                                                                              COURT
                                SAN ANTONIO DIVISION               WEDISIcTFTEXAS
  RSL Funding, LLC                         §
                  Plaintiff,               §
                                           §
  v.                                       §      Case No.5:1 3-cv-00656-OLG
                                           §
  Lydia Green                              §
                  Defendants.              §




                FINAL JUDGMENT CONFIRMING ARBITRATION AWARD

       Came on to be heard RSL Funding, LLC and Lydia Green's Joint Motion to

Confirm Arbitration Award.

       After considering said motion, the responses, the pleadings on file in the case,

including those filed by RSL Funding, LLC and Lydia Green, the Court finds that the

joint Motion has merit and should be granted. It is therefore

       ORDERED and DECREED        that the Arbitration Award dated June 3, 2013

(attached hereto and incorporated herein for all purposes> is confirmed in its entirety

and hereby modifies the transfer order (also attached hereto and incorporated herein>

dated January 8, 2013 in Cause No. 2012-Cl-i 8288 styled as In the Matter Of: A

Transfer of Structured Settlement Payment Rights By Lydia T. Green, in the 73rd

Judicial District Court, Bexar County, TX as provided in the Award.

       SIGNED this         day of July, 2013.




                                                JUDGE PRESIDiNG
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AGREED AS TO FORM AND SUBSTANCE



Respectfully submitted.


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     State BarNo. 138
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       p,o SE




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  IN   THE MA'CTEfl OF THE ARBITRATION                                      In   Arbitration
                                                          §
 BETWEEN

 RSL     Funding, LLC,    CIimanr
                                                          §   Conflict Fiesolutiori    $oiut1ons     PLLC
                                                          §

                                                          §
 Lyd/     Ore,   Respondent                                        Before               Arbitrator


                                           Akirun Awprd
Following the demand for arbitration by RSL Funding, LLC Joined in by Its assignee, PRQ
Qualified investments, LLC, (collectively '$L') filed on May   201 3 with acceptance of
service and consent o arbitration by Lydia reeri Yreen) and )SLr the arbitrator, after
receivin9 and considering the evidence/testimony before him on-May   , 2O1  finds as fol-
lows:

pefinitlons:


RSL arid Green are coiieotiveiy, the "Parties' or         individually, a 'Party."


Jurlsdçtin     Venue;     nd Findings    Rearjing Sam:

The Parties have consented in writing to the arbitration Jurisdiction herein. Jurisdiction Is
available under the Fderat Arbitration Act 2 (the "FAA") and the             General Arbitra-
tion Act (the "Texas Act", with such Jurisdiction iso derived from the contractual agree-
ments of the prtles as set forth in the transfer agreement attached to the Arbitration De-
mand as Exhibit 2, in addition to the arbitration agreement set forth in the application rEx-
hibit 4 to the demand for arbitration). There are at least two ditInot prior Written arbitra-
tion agreements of the parties by which they have agreed to arbitrate this dispute. The
filing was made with the arbitral or9aniation which then assigned the matter to the arbftra
tor shown below. Additionally, Green has filed an appearance before the Arbitrator in this
proceeding consenting to the arbitration Jurisdiction and the selection of the particular arbi-
trator. The Arbitrator finds that he has Jurisdiction to consider this matter at least as a
breach of contract action given the state court's prior approval of the transfer order, which
I   now tinaI making the contract (that is, the transfer agreer'nent} fully effective arid en-
forceebie.   AU the parties necessary for such findings are before the Arbitrator anti ap-
psared and consented to the Arbitrators Jurisdiction herein. The final arbitration hearing
was conducted by telephone (or in person If any party wished to so appear, with no one so
appearing in person). As such the arbitrator finds that the hearing for venue took place
concurrently in Houston, Texas and Sari Antonio, TX. The arbitrator received oral testimony
in this proceeding from ISL and Green prior to entry f this Award The parties acknowl-
edge having received the arbitrator disclosures or having waived receipt of same.

racts Regarding the Claim and the Dispute:

On September     1   2, 201 2   F3$L   entered into a contract with Ms. Green for the purchase              of

                                                   Pagc   1
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two lump s<iin payrneats due December 20, 2020 and December 20, 025 under on armu-
ity from Executive Life Insurance Company of New York ("ELNY'} for which Me Green Is
the payee, with FL Asslgr,rnents being the owner See ExhIbit 2 to the Arbitration Demand,
RSL performed services and incurred expenses and expended monies for an expected profit
from the purchase of said finonciol instrument from Respondent. The testimony wa uridis-
puteci that In exchange for a current payment tp Green, an R$L assignee, PIQ agreed to
pay significant monies to Me, Green,

RSL expended thousands of dollars in     prcesslng costs, Following the entry of an order
approving the pertie& transaction, Claimant acknowledged racving a notice that she then
forwarded to RSL that annuity issuer ELNY, Whioh had been in rehabilitation, was In liquida-
tion and that the payments represented by Respondent to be available for sale to RSL/PRQ
are Ukely not so available or will never be paid, RSL was preprad to cancel the trarisac-
tion, as allowed by RSLs contract, leaving Ms. Green to keep her payments payable many
years In the future In an uncertain amount on account of ELNY's liquidation. The parties
agreed that the value of such payments is speculative given the precarious situation of
ELNY and the litigation surrounding the company's liquidation.

The post order agreement dated April 1 9. 201 attached hereto is incorporated fully into
this order for alt purposes, but whose terms where in cnftict with this Award are con
trolled by the Awrd Ms. Green, by her signature below, agrees with the facts herein and
in the Demand for Arbitration and consents to the entry of this Award,

The Arbitrator finds that he ha Jurisdiction under, inter ella, the Federal Arbitration Act and
the Texas General Arbitration Act, The arbitrator further holds that the agreement of RSL
and Green specifically provides thit any end all disputes arØ subject to arbitration, This ju-
risdiotion runs to the breach of comract action and remedies set forth herinr including gar
r,lshmer,t and offset,

     ndthos

Based on the evidence end     facts   presented and the aroement of   the   Parties, the arbitrator
hereby finds as folIowa

A        Subject to the terms of this Award, the September 12, 2012 transfer agreement
         between FISL and Green lExhibi 2 to the Arbitration Demand) is a valid, binding and
         enforceable agreement p1 the signatories thereto and the parties defined therein nd
         was executed In contemplation of a transfer of structured settlement payment
         rights, which was then approved by a court of competent jurisdiction (Exhibit 1 to
         the Arbitration Demand). The January 8, 201 3 transfer order Is now final and non
         appealable; however, RSL has the ability to avoid the traasfsr and to cancel such on
         account of the financial condItion (liquidetioni of ELNY resulting in a breach of Re-
         spondent's representations, warranties end covenants.

8.       The arbitrator takes notice of the fact that ELNY, Which has been In rehabilitation or
         a conservatorship of sorts by the Insurance Commissioner of the State of New York,
         is now in liquidation, with ELNY having announced that there is not enough money
         to pay Its Insurance or annuity ciairnsnts such as Respondent Green, The amount
         that might be paid to PSL for Green's 2020 and 2026 payments appears to be,
         based upon the testimony of the parties, as little as 18% of the total or at the likely
         outside, 48%. The financial state of ELNY Is uncertain and litigation surrounds the
         liquIdation of the company. Evidence was receIved that the annuity owner, FL As-

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       aignment Corp., is believed to be a shell entity and that it is doubtful that any assets
       exist In that company which presumably also would be liable under the underlying
       legal documents,

       The parties hereto have agreed that in fuil satisfaction pf any end all obligations of
       Claimant, the gross total of $4,00O00 altar a 61 ,800 offset would now be paid
       to Respondent In full satisfaction ol her future payments as set forth In the transfer
       order, subject to the possible payment of additional monies. That is, the parties
       herein have agreed to settle their dispute upon the following terms end conditions:
       Green hs agreed to accept a reduced current amount from PSL/PR for the pay.
       ments previously assigned to RSL (or ItS ffiiIate). The total grass amount of
        $45,000.00 shalt be paid by RSL to Green within ten (10) days of notice to it of a
       final and nonappeslable cnfirrnetion order by the U.S. DistrIct Court for the West
       em    District of Texas, with Complainant undertaking to promptly file the confirming
       petition following a state court confirmation This award shell also be confirmed by
       the 73' Judicial District Court in San Antonio, TX. In addition, the parties have
       agreed that if the total payments received by PRQ for this annuity from ELNY (or its
       liquidating estate) with respect to the LDeoember 20, 2020 and December 20, 202
       payments and pad at the times c&led for exceeds ($300,000.00 LESS any legal
       fees incurred by RSL or its affiliates (including PRQ Qualif led Investments, LLC,
       signee) hereefterl, that the excess net proceeds over $300,000 shall be paid 80%
       to Respondent and 4096 shall be retained by PRQ. Further, Respondent agrees to
       first allocate to PRQ any end all payments received or receivable, of any kind what
       soever, iricludin benefits or contributions of any guaranty association related to the
       December 20, 2020 and December 20, 202 payments until PRQ Is paid In full the
        $425,332.90 in payments which PRQ/RSL originally contracted to buy, as set forth
       in the court approved transfer agreement includln9 In its paragraph 1 3.b, This ar-
       rangement is otherwise explained in the ExhIbit 3 to the Arbitration Demand, such
       being the parties' post order agreement dated April 19, 2013, with this Award's
       provisions set forth above having precedence as to any conflicts with such.

C.     An amendment of the prior transfer order is unnecessary because such assigned
       payments remain the same and only the purchase price has changed through this
       arbitration proedirg. Additionally, the Arbitrator orders this award to be oon
                     73rd
       firmed by the      Judicial District Court which granted the original transfer.

0.     Jurisdiction and venue are proper.

Based an the foregoing findings, It is hereby,

1.     OFIDE8ED, ADJUDGED, AND DECREED that RSL shall pay Crean the net amount of
       $45,000.00 ($105800 less $61 .800 offset), subeot to the possible payment of
       additional monies due Green as set forth above, in fuil and complete and total satis-
       faction for the purchase of payments described in the September 12, 2012 transfer
       agreement anti the January 8, 2013 court order, as supplemented by the partlea
       agreement: It is further

2.     ORDERED     that this order does not affect in any way the transfer of payments de-
       scribed in the .Jarivary 8, 2019 Transfer Order but sirnpiy serves as an offset to the
       purchase price, In lieu of RSL voiding the sale and assignment, all of which RSL has
                                                                                        notice
       the right to do under the parties' contract Claimant acknowledges receiving
       not brought to RSL's attention that   annuity issuer ELNY  which  had been  in rahabili


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        tetion is flOW lfl iiquiation end that the payments which Green represented as hav-
        ing been available for sale appear to no      Iner
                                                        be available in siriificant part, which
         slgnlfIantly aflects the value of the payments which RSL. or Its assignee would or
         has acquired; It is further

3,     ORDERED that RSL shall have this order confirmed by the U.S. District Court for the
       Weetern District of Texas in San Antonio (foIlow1n approval or confirmation of this
       award as wall by the 7      Judicial District Court of San Antonio as the original Court
       ordering the Trensfer} at Its expense, with Green ordered to cooperate regarding
       same and may at the option of RSL or It assignee) thereafter domesticete the Judg.
       mant In any state in which it deems appropriates at its own expense, again with
       Green being ordered to cooperate in same. Arbitration fees are adjudged in the
       amount of                'with
                               RSL agreeing to pay the same.
                        Gu-e ,'t1
This Arbitrator retains jurisdiction to resolve further disputes involving the parties, end to
consider additional fees due to R$L to the extent that any person fails to fully cooperate or
comply as ordered herein. Any relief not granted herein is expressly denied, This order Is
final

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         A'.   ,i',               r                                   ,   2013
     !
       14.:,%_(          ,   Arbitrator




APPROVED AS TO FORM AND CONTENT AND ENTRY REQUESTEi;

                                                             Approve

     diadree         PrSe                                    P    uudlvestments        LLC



                                          liability corpo




 Stewar        .   Fet man, CEO




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